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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    Meier's Wine Cellars Acquisition, LLC,                      Case No. 24-11575 (MFW)
    et al.1
                                                                (Jointly Administered)
                       Debtors.
                                                                Re: Docket No. 183

                 ORDER GRANTING MOTION OF THE DEBTORS
          AND DEBTORS IN POSSESSION FOR AN ORDER (I) EXTENDING
           THE TIME WITHIN WHICH THE DEBTORS MUST FILE THEIR
       (A) SCHEDULES OF ASSETS AND LIABILITIES AND (B) STATEMENTS
       OF FINANCIAL AFFAIRS PURSUANT TO RULE 1007 OF THE FEDERAL
    RULES OF BANKRUPTCY PROCEDURE, AND (II) GRANTING RELATED RELIEF

                      This matter coming before the Court on the Motion of the Debtors and Debtors in

Possession for an Order (I) Extending the Time within which the Debtors Must File their

(A) Schedules of Assets and Liabilities and (B) Statements of Financial Affairs Pursuant to Rule

1007 of the Federal Rules of Bankruptcy Procedure and (II) Granting Related Relief

(the "Motion"),2 filed by the above-captioned debtors and debtors in possession (collectively, the

"Debtors"); the Court having reviewed the Motion and the First Day Declaration and having

considered the statements of counsel and the evidence adduced with respect to the Motion at a

hearing before the Court, if any (the "Hearing"); the Court having found that (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing




1
             The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
             numbers, if any, follow in parentheses): Meier's Wine Cellars Acquisition, LLC (5557); California Cider
             Co., Inc. (0443); Girard Winery LLC (5076); Grove Acquisition, LLC (9465); Meier's Wine Cellars, Inc.
             (2300); Mildara Blass Inc. (1491); Sabotage Wine Company, LLC (8393); Splinter Group Napa, LLC
             (1417); Thames America Trading Company Ltd. (0696); Vinesse, LLC (3139); Vintage Wine Estates, Inc.
             (CA) (2279); and Vintage Wine Estates, Inc. (NV) (5902). The Debtors' noticing address in these chapter
             11 cases is 205 Concourse Boulevard, Santa Rosa, California 95403.
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             Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.




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Order of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012, (ii) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b); and (iv) notice of the Motion

and the Hearing was sufficient under the circumstances; and the Court having determined that

the legal and factual bases set forth in the Motion and the First Day Declaration and at the

Hearing establish just cause for the relief granted herein;

                   IT IS HEREBY ORDERED THAT:

                   1.    The Motion is GRANTED as set forth herein.

                   2.    The time within which the Debtors must file their Schedules and

Statements is extended through and including September 18, 2024, without prejudice to the

Debtors' right to seek further extensions of such periods.

                   3.    All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

                   4.    The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                   5.    This Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of this Order.




Dated: September 3rd, 2024                             MARY F. WALRATH
Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE

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